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                                                                1 Daniel A. Lev (CA Bar No. 129622)
                                                                   dlev@sulmeyerlaw.com
                                                                2 SulmeyerKupetz
                                                                    A Professional Corporation
                                                                3 333 South Grand Avenue, Suite 3400
                                                                  Los Angeles, California 90071-1406
                                                                4 Telephone: 213.626.2311
                                                                  Facsimile: 213.629.4520
                                                                5
                                                                  Attorneys for Petitioning Creditors
                                                                6
                                                                  Ronald Richards (CA Bar No. 176246)
                                                                7 ron@ronaldrichards.com
                                                                  Law Offices of Ronald Richards & Associates, APC
                                                                8 P.O. Box 11480
                                                                  Beverly Hills, California 90213
                                                                9 Telephone: 310.556.1001
                                                                  Facsimile: 310.277.3325
                                                               10
                                                                  Attorneys for Victor Franco Noval
                                                               11
  Professional Corporation
                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406
                        TEL. 213.626.2311 • FAX 213.629.4520




                                                                  Baruch C. Cohen (CA Bar No. 159455)
                                                               12 baruchcohen@baruchcohenesq.com
                                                                  Law Office of Baruch C. Cohen, APLC
                                                               13 4929 Wilshire Boulevard, Suite 940
                                                                  Los Angeles, California 90010
                                                               14 Telephone: 323.937.4501
                                                                  Facsimile: 888.316.6107
SulmeyerKupetz, A




                                                               15
                                                                  Attorneys for Peter Marco, LLC and First International Diamond, Inc.
                                                               16
                                                                                           UNITED STATES BANKRUPTCY COURT
                                                               17
                                                                             CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
                                                               18
                                                               19 In re                                            Case No. 2:20-bk-13530-BR

                                                               20 JADELLE JEWELRY AND DIAMONDS,                    Chapter 7
                                                                  LLC,
                                                               21                                                  PETITIONING CREDITORS’
                                                                                                                   PRELIMINARY OPPOSITION TO
                                                               22                                                  EMERGENCY MOTION PURSUANT TO
                                                                                    Debtor.                        FEDERAL RULE OF BANKRUPTCY
                                                               23                                                  PROCEDURE 8007 FOR STAY
                                                                                                                   PENDING APPEAL; DECLARATION OF
                                                               24                                                  RONALD RICHARDS IN SUPPORT
                                                                                                                   THEREOF
                                                               25
                                                                                                                   DATE:       None Set
                                                               26                                                  TIME:       None Set
                                                                                                                   PLACE:      Courtroom “1668”
                                                               27

                                                               28


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                                                                1
                                                                  VICTOR FRANCO NOVAL; PETER
                                                                2 MARCO, LLC; and FIRST
                                                                  INTERNATIONAL DIAMOND, INC.,
                                                                3
                                                                            Petitioning Creditors,
                                                                4
                                                                       vs.
                                                                5
                                                                  JADELLE JEWELRY AND DIAMONDS,
                                                                6 LLC,

                                                                7                   Alleged Debtor.
                                                                8

                                                                9
                                                                                    Petitioning creditors, Victor Franco Noval (“Noval”), Peter Marco, LLC
                                                               10
                                                                    (“Marco”), and First International Diamond, Inc. (“First International” and together with
                                                               11
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                                                                    Noval and Marco, the “Petitioning Creditors”), hereby submit their “Petitioning Creditors’
                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406




                                                               12
                        TEL. 213.626.2311 • FAX 213.629.4520




                                                                    Preliminary Opposition to Emergency Motion Pursuant to Federal Rule of Bankruptcy
                                                               13
                                                                    Procedure 8007 for Stay Pending Appeal; Declaration of Ronald Richards in Support
                                                               14
                                                                    Thereof” (the “Opposition”), in response to the “Emergency Motion Pursuant to Federal
                                                               15
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                                                                    Rule of Bankruptcy Procedure 8007 for Stay Pending Appeal” (the “Motion”), filed by the
                                                               16
                                                                    debtor Jadelle Jewelry and Diamonds, LLC (the “Debtor” or “Jadelle”), and represent as
                                                               17
                                                                    follows: 1
                                                               18
                                                                                                                          I.
                                                               19
                                                                                                         PREFATORY STATEMENT
                                                               20
                                                                                    After suffering the consequences of its decision to intentionally violate a
                                                               21
                                                                    court order, the Debtor now seeks equity in the form of a stay pending appeal. Setting
                                                               22

                                                               23

                                                               24   1 As is its custom, the Debtor waited until 5:06 p.m. on June 19, 2020, in other words, three days after entry

                                                                    of the Court’s June 16, 2020, “Order Directing Clerk of Court to Immediately Enter An Order for Relief
                                                               25   Under Chapter 7, and Requiring the Debtor to File All Schedules and Related Documentation for a Chapter
                                                                    7 Case Within Fourteen Days of the Entry of This Order” (the “June 16 Order”) [Docket No. 54], to file its
                                                               26   alleged “emergency” Motion. As such, Petitioning Creditors again have been provided with insufficient time
                                                                    to address each of the inaccurate and misleading arguments littered throughout the Motion. Therefore, to
                                                               27   the extent the Court does not simply deny the Motion, as it should, Petitioning Creditors must be afforded
                                                                    sufficient time to present a more detailed opposition to the Motion.
                                                               28


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                                                                1 aside the inarguable fact that the Debtor satisfies none of the four elements required to

                                                                2 obtain a stay, the Debtor cannot even meet the threshold requirement of standing to

                                                                3 prosecute an appeal since it acted without the express authorization of the newly

                                                                4 appointed chapter 7 trustee. The Debtor’s lack of standing alone reinforces why the

                                                                5 Debtor cannot show it is likely to succeed on its appeal, that it will suffer any real (let

                                                                6 alone irreparable) harm in the absence of a stay, that the estate and other creditors will

                                                                7 not suffer harm with a stay, and that the public interest will be served by a stay. In short,

                                                                8 the Debtor’s lack of standing renders the Motion utterly meaningless. 2

                                                                9                                                           II.

                                                               10              THE INDISPUTABLE FACT THAT THE DEBTOR LACKS STANDING TO

                                                               11               PROSECUTE THE APPEAL MANDATES DISMISSAL OF THE MOTION
  Professional Corporation
                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406




                                                               12
                        TEL. 213.626.2311 • FAX 213.629.4520




                                                                                       On June 18, 2020, Sam Leslie (the “Trustee”) was appointed chapter 7

                                                               13 trustee for the Debtor’s estate. In the few short days since he was appointed, the Trustee

                                                               14 has conducted a preliminary review of the case and requested that the Debtor produce a

                                                               15 series of documents which, to this date, the Debtor has refused to turn over. One thing
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                                                               16 the Trustee has not done, however, is authorize the Debtor’s filing of the appeal of the

                                                               17 June 16 Order which occurred after his appointment. 3 Under Supreme Court law, once

                                                               18 the Trustee was appointed, the Debtor’s attorneys were divested of any authority to act
                                                               19 on the Debtor’s behalf absent the express consent of the Trustee. As a result, counsel

                                                               20 for the Debtor had no authority or power to file the appeal or the Motion on the Debtor’s

                                                               21 behalf, as only the Trustee, not the Debtor’s prior management (Jona and Rachel

                                                               22 Rechnitz), had the authority to direct them to act in this manner.

                                                               23

                                                               24
                                                                    2   Petitioning Creditors understand that, unless the Debtor voluntarily dismisses the appeal (which will not
                                                               25 happen), the issue of dismissal will need to be raised with the appropriate appellate court. The Debtor’s
                                                                    lack of standing, however, certainly is relevant to whether the Court should issue a stay pending appeal.
                                                               26
                                                                    3   A true and correct copy of the June 19, 2020, email from the Trustee unequivocally stating that he did not
                                                               27 authorize the Debtor’s filing of the appeal is attached as Exhibit “A” to the declaration of Ronald Richards,
                                                                    affixed hereto.
                                                               28


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                                                                1                   Specifically, although a debtor generally has standing to appeal an order for

                                                                2 relief in an involuntary bankruptcy, the issue as to whether a corporate debtor has the

                                                                3 authority to appeal through its ousted management where a trustee has been appointed,

                                                                4 and the trustee objects to the ousted management bringing an appeal on the debtor’s,

                                                                5 behalf is well-settled law. Although it will contend otherwise, the Debtor will be unable to

                                                                6 cite this Court to a single case which contradicts this rationale. In other words, absent

                                                                7 the Trustee’s express authorization, which was not obtained here, the Debtor’s attorneys

                                                                8 lacked the requisite corporate authority to file the appeal of the June 16 Order on the

                                                                9 Debtor’s behalf. See C.W. Mining Co. v. Aquila, Inc. (In re C.W. Mining Co.), 636 F.3d

                                                               10 1257 (10th Cir. 2011).

                                                               11                   In C.W. Mining, for example, creditors commenced an involuntary chapter
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                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406




                                                               12 11 proceeding against the debtor. The case was converted to chapter 7, and a chapter 7
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                                                               13 trustee was appointed without objection by the debtor. The debtor’s former managers

                                                               14 then appealed to the Bankruptcy Appellate Panel (the “BAP”) on the debtor’s behalf. The

                                                               15 trustee moved to dismiss the appeal, contending that the former managers could not
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                                                               16 bring an appeal on the debtor’s behalf over the trustee’s objection. Initially, the BAP

                                                               17 concluded that the former managers could bring the appeal because a putative debtor

                                                               18 must have standing to bring a bankruptcy court’s involuntary order for relief before an
                                                               19 appellate court. The Tenth Circuit reversed, however.

                                                               20                   According to the Tenth Circuit, although the debtor may have had standing

                                                               21 to appeal as a person aggrieved, the dispositive question was not whether the debtor had

                                                               22 standing to appeal, but whether the former managers had the authority to appeal on the

                                                               23 debtor’s behalf. Similar to Jadelle, because the debtor was a corporation, it could act

                                                               24 only through its authorized agents. As the Tenth Circuit noted, once a trustee is

                                                               25 appointed over a corporate debtor, the trustee assumes control of the business, and the

                                                               26 debtor’s directors are completely ousted. In issuing its ruling, the Tenth Circuit was

                                                               27 following the Supreme Court’s decision in Commodity Futures Trading Comm’n v.

                                                               28


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                                                                1 Weintraub, 471 U.S. 343, 352–53, 105 S. Ct. 1986, 85 L. Ed. 2d 372 (1985). As the

                                                                2 Court explained:

                                                                3                   After [the debtor] entered into Chapter 7 bankruptcy and a

                                                                4                   trustee was appointed, [the debtor’s] former management's

                                                                5                   only role was “to turn over the corporation's property to the

                                                                6                   trustee and to provide certain information to the trustee and

                                                                7                   to the creditors.” Weintraub, 471 U.S. at 352. [The debtor’s]

                                                                8                   directors were otherwise “completely ousted.” Id. at 353.

                                                                9                   The Bankruptcy Code makes no provision for former

                                                               10                   management to appear in a Chapter 7 proceeding to assert

                                                               11                   a separate interest on behalf of the Debtor. See Log
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                       333 SOUTH GRAND AVENUE, SUITE 3400
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                                                               12
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                                                                                    Furniture, Inc., 180 F. App’x at 787. Authority to make legal

                                                               13                   decisions, like all other business decisions, passed to the

                                                               14                   Trustee alone.

                                                               15 C.W. Mining, 636 F.3d at 1263.
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                                                               16                   The Court continued as follows:

                                                               17                   When a corporation enters Chapter 7 bankruptcy and a

                                                               18                   trustee is appointed, the corporation itself, as an intangible
                                                               19                   legal creation, remains unchanged. But it gets new

                                                               20                   management, in the form of a trustee, Weintraub, 471 U.S.

                                                               21                   at 353, and its legal purpose becomes vastly different. The

                                                               22                   Supreme Court “has long recognized that a chief purpose of

                                                               23                   the bankruptcy laws is to secure a prompt and effectual

                                                               24                   administration and settlement of the estate of all bankrupts

                                                               25                   within a limited period.” Katchen v. Landy, 382 U.S. 323,

                                                               26                   328, 86 S. Ct. 467, 15 L. Ed. 2d 391 (1966) (quotation

                                                               27                   omitted). The entire purpose of involuntary bankruptcy is to

                                                               28                   “protect the interests and desires of the creditors as a whole”


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                                                                1                   Basin Elec. Power Co-op. v. Midwest Processing Co., 47

                                                                2                   B.R. 903, 908 (D.N.D. 1984). Accordingly, bankruptcy law

                                                                3                   drastically redefines and narrows the corporation’s “interest”

                                                                4                   - the major purpose for its continued existence is maximizing

                                                                5                   the value of the estate for its creditors, not its shareholders.

                                                                6                   Bankruptcy law abrogates other “interests” [the debtor] may

                                                                7                   have formerly had.

                                                                8                   To the extent the Managers argue they are vindicating [the

                                                                9                   debtor’s] interests, they are wrong. Just the opposite is true:

                                                               10                   the Managers’ attempts to confound the Trustee’s

                                                               11                   administration of the estate hinder the only interest [the
  Professional Corporation
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                       LOS ANGELES, CALIFORNIA 90071-1406




                                                               12
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                                                                                    debtor] now legally has, which is liquidating the business in

                                                               13                   such a manner as to maximize the estate’s value.

                                                               14 C.W. Mining, 636 F.3d at 1264-65.

                                                               15                   The Tenth Circuit thus rightly concluded that, although other individuals
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                                                               16 might have standing to appeal under the “person aggrieved rule,” those individuals may

                                                               17 not usurp the corporation’s right to appeal, which may be exercised by the trustee alone.

                                                               18 Id., at 1263. Absent authorization from the Trustee, the Debtor lacked the independent
                                                               19 right to file the appeal and the Motion, which eliminates any argument that the Debtor will

                                                               20 be successful on the merits of its appeal. See also S. Edge LLC v. JPMorgan Chase

                                                               21 Bank, N.A., 2011 U.S. Dist. LEXIS 49621 (D. Nev. 2011) (court granted chapter 11

                                                               22 trustee’s motion to dismiss an appeal of an order granting chapter 11 relief brought by

                                                               23 involuntary debtor and its former managers where trustee had been appointed after order

                                                               24 was entered, and as a result, trustee was substituted for debtor in all pending litigation as

                                                               25 the real party in interest such that only trustee had authority to decide whether to

                                                               26 continue to pursue appeal on debtor’s behalf); Quest Ventures, Ltd. v. IPA Mgmt. IV,

                                                               27 LLC, 2018 U.S. Dist. LEXIS 25225 (E.D.N.Y. 2018) (same); Public-Sector Solutions, Inc.

                                                               28 v. HCG Software, LLC, 2014 U.S. Dist. LEXIS 134446 (D. Md. 2014) (same).


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                                                                1                   The Debtor will pin its hopes on several factually distinguishable decisions

                                                                2 and the additional fact that the Ninth Circuit has not formally adopted the C.W. Mining

                                                                3 ruling. However, simply because the Ninth Circuit has not rendered a decision on this

                                                                4 uncontroversial rule of law does not diminish the soundness of the Tenth Circuit’s

                                                                5 decision which is in line with prior Supreme Court precedent. In fact, the court in S Edge

                                                                6 itself stated that although the Ninth Circuit has never squarely addressed the issue, “[t]he

                                                                7 Court concludes that if the Ninth Circuit did address the issue, it would follow the

                                                                8 reasoning in the Tenth Circuit’s opinion in C.W. Mining.” S. Edge, 2011 U.S. Dist. LEXIS

                                                                9 49621, at *14-15.

                                                               10                   The decisions which the Debtor will rely on are, as noted, insignificant.

                                                               11                   For instance, the Ninth Circuit’s decision in Security Bldg. & Loan Ass’n v.
  Professional Corporation
                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406




                                                               12 Spurlock, 65 F.2d 768, 770 (9th Cir. 1933) is irrelevant, not just because it is nearly one
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                                                               13 hundred years old, and pre-dates decades of amendments to the Bankruptcy Code and

                                                               14 Weintraub, but because the standing issue was not before the Court. In Spurlock, the

                                                               15 Court was required to determine whether a state court receiver acted without authority to
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                                                               16 appeal or to participate in a proceeding because he was not specially authorized so to do

                                                               17 by the state court which appointed him. In other words, the issue confronting the Court

                                                               18 surrounded an entity’s right to seek relief from actions of a state court receiver, which is
                                                               19 entirely irrelevant to the issue raised by this Opposition, namely, that once the Trustee

                                                               20 was appointed, the Debtor could only appeal the June 16 Order with the express

                                                               21 authorization of the Trustee, which was not provided.

                                                               22                   Similarly, the decision in In re Focus Media, Inc., 378 F.3d 916, 922 (9th

                                                               23 Cir. 2004) is irrelevant, since there is nothing in this now overruled opinion that suggests

                                                               24 that the trustee ever raised the lack of corporate authority issue that is being raised here.

                                                               25 Hence, this decision has no bearing on the fundamental issue of standing being raised

                                                               26 here. The BAP’s decision in Kenny G Enters., LLC v. Casey (In re Kenny G Enters.,

                                                               27 LLC), 2014 Bankr. LEXIS 3529 (B.A.P. 9th Cir. 2014), is equally unavailing since, again,

                                                               28 the there was no standing challenge to an appeal of a conversion order. In fact, current


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                                                                1 counsel for Noval actually represents the trustee in the Kenny G case and can speak to

                                                                2 the fact that standing was not an issue on appeal.

                                                                3                   In fact, there were only three issues raised on appeal in the Kenny G case:

                                                                4 (i) did the bankruptcy court violate the debtor’s due process rights when it sua sponte

                                                                5 converted the case to chapter 7 at the hearing on the final decree motion, (ii) did the

                                                                6 bankruptcy court abuse its discretion in converting the case to chapter 7, and (iii) did the

                                                                7 bankruptcy court abuse its discretion in denying reconsideration of the conversion order.

                                                                8 In sum, no part of the Kenny G decision has any bearing on the issues before this Court.

                                                                9                   In re Trusted Net Media Holdings, LLC, 550 F.3d 1035, 1038 (11th Cir.

                                                               10 2008), another case that will be cited by the Debtor, is equally irrelevant since, again, it

                                                               11 has no discussion of the standing issue raised here. In Trusted Net Media, a controlling
  Professional Corporation
                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406




                                                               12 insider had litigation in the bankruptcy court and there is no indication the trustee
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                                                               13 objected on lack of corporate authority grounds. It was also decided years before the

                                                               14 current line of cases cited by Petitioning Creditors dismissing appeals by involuntary

                                                               15 debtor due to lack of corporate authority. The decision In re YBA Nineteen, LLC, 505
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                                                               16 B.R. 289, 304 (S.D. Cal. 2014) also should be ignored. YBA involved the appeal of a

                                                               17 conversion order, not applicable to this case, and no one challenged the debtor’s

                                                               18 attorney’s authority to proceed. The failure to raise the standing issue or the waiver of
                                                               19 that issue have nothing to do with the facts or issues presented here.

                                                               20                   Ironically, the debtor in YBA objected to the trustee’s brief on the basis that

                                                               21 the trustee did not have standing to oppose the debtor’s appeal. However, the court

                                                               22 overruled the debtor’s objection as moot, finding that, even if the trustee did not have

                                                               23 standing, the court considered the trustee's brief as an amicus curiae filing, citing In re

                                                               24 Heath, 331 B.R. 424, 429–30 (B.A.P. 9th Cir. 2005) (considering trustee’s brief as an

                                                               25 amicus brief “even if Trustee cannot appear as a party” due to lack of appellate standing).

                                                               26 The YBA court further stated that “[t]he Court makes no finding as to the Trustee's

                                                               27 standing on appeal.” YBA, 505 B.R. at 304.

                                                               28


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                                                                1                                                 III.

                                                                2                                           CONCLUSION

                                                                3                   Since the Debtor acted without the express authorization of the Trustee, it

                                                                4 lacks the standing to prosecute this appeal. Although Petitioning Creditors (and the

                                                                5 Trustee) understand that a formal motion to dismiss must be brought before the appellate

                                                                6 court, this Court surely can consider the lack of standing as it mulls over whether the

                                                                7 Debtor has carried its heavy burden of obtaining a stay pending appeal of the June 16

                                                                8 Order. Since there is no doubt that the Debtor cannot prosecute this appeal, this Court

                                                                9 cannot find that the Debtor is entitled to a stay and the Motion, therefore, must be denied.

                                                               10 DATED: June 22, 2020                      SulmeyerKupetz
                                                                                                            A Professional Corporation
                                                               11
  Professional Corporation
                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406




                                                               12
                        TEL. 213.626.2311 • FAX 213.629.4520




                                                               13                                           By: /s/ Daniel A. Lev          _________________
                                                                                                                Daniel A. Lev
                                                               14                                               Attorneys for Petitioning Creditors
                                                               15 DATED: June 22, 2020                      Law Offices of Ronald Richards & Associates, APC
SulmeyerKupetz, A




                                                               16

                                                               17
                                                                                                            By: /s/ Ronald Richards       _________________
                                                               18                                               Ronald Richards
                                                                                                                Attorneys for Victor Franco Noval
                                                               19

                                                               20

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                                                                1                            DECLARATION OF RONALD RICHARDS

                                                                2                   I, Ronald Richards, declare and state as follows:

                                                                3                   1.    I am a member of the State Bar of California and am duly authorized

                                                                4 to practice before this Court, and am the attorney principally responsible for the

                                                                5 representation of petitioning creditor Victor Franco Noval (“Noval”) in the above-captioned

                                                                6 case.

                                                                7                   2.    After receiving the Debtor’s appeal of the June 16 Order and the

                                                                8 Motion, I asked the Trustee if he authorized the Debtor’s filings. On June 20, 2020, I

                                                                9 received an email from the Trustee expressly stating that he did not authorize either of

                                                               10 the two filings. A true and correct copy of the June 20, 2020, email from the Trustee is

                                                               11 attached hereto as Exhibit “A” and incorporated herein by reference.
  Professional Corporation
                       333 SOUTH GRAND AVENUE, SUITE 3400
                       LOS ANGELES, CALIFORNIA 90071-1406




                                                               12
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                                                                                    I declare under penalty of perjury under the laws of the United States of

                                                               13 America that the foregoing is true and correct.

                                                               14                   Executed this 22nd day of June, 2020, at Los Angeles, California.

                                                               15
SulmeyerKupetz, A




                                                               16                                              /s/ Ronald Richards
                                                                                                               Ronald Richards
                                                               17

                                                               18
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Ronald Richards

From:                              Sam Leslie <sleslie@trusteeleslie.com>
Sent:                              Saturday, June 20, 2020 11:57 AM
To:                                cdye@cadye.com; Ronald Richards; Daniel Lev; bcc@baruchcohenesq.com; Timothy
                                   Kincaid; Marianna Falco
Subject:                           Re: Bankruptcy Case: 20-13530 - Jadelle Jewelry and Diamonds, LLC LACK OF
                                   AUTHORIZATION CONFIRMATION
Attachments:                       image001.jpg; ATT00001.htm; doc61appeal.pdf; ATT00002.htm


Ron, accept this email that I did not authorize the appeal nor the motion for stay for the debtor
best
Sam




                From: Ronald Richards <ron@ronaldrichards.com>
                Date: June 20, 2020 at 7:00:41 AM PDT
                To: Sam Leslie <sleslie@trusteeleslie.com>, "bcc@baruchcohenesq.com"
                <bcc@baruchcohenesq.com>
                Cc: Carolyn Dye <cdye@cadye.com>, "Lev, Daniel A." <dlev@sulmeyerlaw.com>,
                Marianna Falco <MFalco@leaaccountancy.com>, Timothy Kincaid
                <TKincaid@leaaccountancy.com>
                Subject: RE: Bankruptcy Case: 20-13530 - Jadelle Jewelry and Diamonds, LLC LACK OF
                AUTHORIZATION CONFIRMATION


                Dear Mr. Leslie,

                I am drafting a rule 9011 letter and other immediate relief. Please confirm you did not
                authorize the attached appeal nor the motion for a stay for the Debtor, JADELLE
                JEWELRY AND DIAMONDS, LLC, in this matter.




                Sincerely,

                Ronald Richards, Esq.
                Law Offices of Ronald Richards & Associates, A.P.C.
                310-556-1001 Office
                310-277-3325 Fax
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                Beverly Hills, CA 90213
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is
PO BOX 11480, BEVERLY HILLS, CA 90213

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF RONALD RICHARDS,
PRELIMINARY OPPOSITION TO MOTION FOR STAY, will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 22, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com

Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com

Robert S Marticello Rmarticello@swelawfirm.com,

gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com

Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com,justin@ronaldrichards.com

Neal Salisian ECF@salisianlee.com

Michael Simon msimon@swelawfirm.com,

lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com

United States Trustee (SV)
ustpregion16.wh.ecf@usdoj.gov
                                                                                         Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) ___________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.



                                                                                         Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Honorable Barry Russell
U.S. Bankruptcy Court
Roybal Federal Building (waived per court order)
Bin outside of Courtroom 1660
255 E. Temple Street

DAL 2702848v1 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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Los Angeles, CA 90012


                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 June 22, 2020                                                                                 /s/ Ronald Richards
 Date                                      Printed Name                                        Signature




DAL 2702848v1 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
